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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA

                  UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION

LECRESHA CLARK,
    Plaintiff,

v.                                          Case No. 1:23-cv-775-CLM

EQUIFAX INFORMATION
SOLUTIONS, LLC, et al.,
    Defendant.

                      INITIAL ORDER
            GOVERNING ALL FURTHER PROCEEDINGS

      This order governs all proceedings in this action, unless modified
for good cause shown. All parties should review it thoroughly. By
appearing in this case, each attorney or pro se party certifies to this court
that he or she has read this order; has read this court’s local rules; and is
prepared to fully comply with each. See www.alnd.uscourts.gov, Local
Rules and Orders.
I.      DUTIES UNDER RULE 26(f)
       A.    The Planning Conference
     Rule 26(f) requires the parties to confer “as soon as practicable,”
which, in this action, is no later than 30 days from the first appearance of
a defendant. At this planning conference, the parties must, at a
minimum:
     • Consider the nature and basis of their claims and defenses;
     • Discuss the possibility of a prompt settlement or resolution of the
       case;
     • Make or arrange for the disclosures required by Federal Rule of
       Civil Procedure 26(a)(1);
     • Develop a proposed discovery plan that indicates the parties’ views
       and proposals concerning all of the matters addressed in Rule 26(f),
       subparagraphs (1) through (4); and, in appropriate cases,
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   • Consider whether to consent to the exercise of Magistrate Judge
     jurisdiction under 28 U.S.C. § 636(c).
If the parties are unable to agree upon a date, time, or place for this
conference, the parties are hereby ORDERED to meet at 10:00 a.m. in the
chambers of the undersigned judge on the last Friday falling within the
30-day period starting from the first appearance of a defendant. If use of
the court’s chambers is required, counsel should telephone chambers at
least seven (7) days prior to the required meeting to advise the court. If a
party is proceeding without counsel, the obligation to telephone chambers
rests upon counsel for the opposing party.
      B.    Report from the Planning Conference
       Within 14 days after the planning conference, the parties shall
jointly file a report with the Clerk of Court that follows the general format
of Appendix III to this order. The report should begin with a brief
synopsis of the case that advises the court of the general claims and
defenses of the parties. The report should include precise dates for all
deadlines. And the last page of the report should include the chart on the
last page of Appendix III with the left column filled out. Should the
parties disagree about an item in the report, the positions of the parties
as to that item should be clearly set forth in separate paragraphs.
       When preparing the report, be aware that the case should be ready
for trial within 12 months from the date of service of the complaint, unless
extraordinary circumstances exist. Note that the burden lies on the
parties to explain why the case cannot be tried within that time frame.
     The report must include a discovery plan stating the parties’ views
and proposals on:
   • any issues about disclosure, discovery, or preservation of
     electronically stored information, including the form or forms in
     which it should be produced; and,
   • any issues about claims of privilege or of protection as trial-
     preparation materials. If the parties agree on a procedure to assert
     these claims after production (i.e., a “Clawback” Agreement), the
     report should include a statement whether they want the court’s
     scheduling order to adopt their agreement under Federal Rule of
     Evidence 502.

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Upon receipt of the report, the court will set a Rule 16(b) scheduling
conference if requested by the parties and may set a conference without
the parties’ request.
      C.    Compliance with HIPAA
      In accordance with the requirements of the Health Insurance
Portability and Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-
191, 110 Stat. 1936 (1996), and regulations promulgated thereto, when
“protected health information” is relevant to the claims or defenses
presented in an action, the party seeking such “protected health
information” shall present a valid authorization at the Rule 26 planning
meeting to be executed by the party from whom such “protected health
information” is sought. The parties shall include in their report a deadline
(specific date) by which the authorization will be executed. The parties
may file with the court a motion for a “qualified protective order,” to which
all parties stipulate, and, contemporaneously with that filing, e-mail to
maze_chambers@alnd.uscourts.gov, a proposed “qualified protective
order,” in substantially the form attached to this order as Appendix I, to
be entered by stipulation of counsel for all parties. The parties shall not
request a “qualified protective order” in their Rule 26(f) report. And the
court will only enter a “qualified protective order” if the parties have filed
a motion for “qualified protective order.”
      D.    Suitability     of    Action     for   Alternative      Dispute
            Resolution
       All parties should give early consideration to the possibility of
settlement to avoid unnecessary costs and fees. The court requires that
the attorneys for all parties make an early analysis of the case along with
their clients and be prepared to discuss settlement at an early date. The
parties shall also consider and discuss whether this action may be suitable
for mediation, whether under the court’s ADR plan or otherwise. In the
absence of an objection by any of the parties, the court will order this case
to mediation before the submission of dispositive motions.
       Each attorney is directed to immediately forward a copy of the
initial order to his or her client. Plaintiff(s)’ attorneys are ordered to
immediately discuss the feasibility of settlement with the Defendant(s)’
attorneys.

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      E.    Commencement of Discovery
      The parties are authorized to commence discovery pursuant to the
terms of Rule 26 immediately after the required report has been filed. In
cases removed from state court in which any discovery requests were filed
before such removal, those discovery requests shall be deemed to have
been filed on the date the parties file the report required by Rule 26(f) and
described above.
      The court instructs the parties to review Local Rule 5.3 regarding
the non-filing of discovery materials in civil cases.
      F.    Dismissal of Non-Served Defendants
      Any defendant who has not been served with a summons and
complaint within 90 days after the filing of the complaint (or within 90
days after the party was added to the action) may be dismissed without
further order of the court unless the party required to serve shows good
cause why service has not been perfected.
      G.    Courtesy Copies
       For all submissions exceeding 30 pages (including exhibits), the
filing party must submit, within three (3) business days of filing, an exact
courtesy copy of the submission, reflecting the CM/ECF case number,
document number, page numbers and filing date, to the court’s chambers
at United States District Court, Anniston Federal Courthouse, 1100
Gurnee Avenue, Anniston, Alabama 36201.1 Copies may be hand
delivered or mailed to the courthouse. The parties must also email a copy
of any filed brief to maze_chambers@alnd.uscourts.gov, with opposing
counsel copied on the email. All digital copies should be sent in Microsoft
Word format. All hard copies should be double-sided and securely bound
in a three-ring binder or by a large clip.


      H.    Electronic Submissions
            1.     CM/ECF Record


1 The rules for submitting a courtesy copy of materials related to motions for

summary judgment are governed by Appendix II.

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      The official record of this case is maintained electronically pursuant
to CM/ECF. Documents must be filed through CM/ECF in PDF (Portable
Document Format), unless submitted by a party appearing pro se, in
which case documents should be filed with the Clerk of Court. Except in
extraordinary circumstances, all filings shall be consistent with the
Court’s Civil Administrative Procedures Manual.2
            2.     Protected Information
      Counsel are reminded to comply with the court’s Administrative
Procedures Manual for electronic filing with respect to redacting personal
identifiers (e.g., Social Security numbers, drivers’ license numbers, birth
dates, addresses, telephone numbers, bank account and credit card
information) and other personal or sensitive information, in compliance
with the E-Government Act.
    When filing material under seal, parties must comply with the
Administrative Procedures Manual.
            3.     Required Electronic Submissions to Chambers
     The    email    address    for  Judge Maze’s  chambers     is
maze_chambers@alnd.uscourts.gov. Counsel must e-mail copies of all
proposed orders in Microsoft Word Format.
      Ex parte communications with the judge or chambers are not
allowed. In cases featuring opposing counsel, all communications to the
chambers’ e-mail address must copy all opposing counsel. This copy must
be visible to the court; that is, do not “blind copy” opposing counsel. In
cases featuring pro se parties, communications may be made via the
chambers’ e-mail address if the pro se party has provided an email address
that can be copied on the email. If the pro se party has not provided an
email address, then parties seek to communicate with the court shall file
a motion seeking a telephone conference.




2 The Administrative Procedures Manual is available on the    court’s website:
http://www.alnd.uscourts.gov/forms/civil-administrative-procedures-manual-
cmecf-1-2017.

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II.    ATTORNEY FEE SHIFTING CASES
      If a party anticipates that during or upon the completion of this
action it may seek an award of attorneys’ fees from the opposing party
pursuant to any statute or other law, for any reason other than as a
sanction under the Federal Rules of Civil Procedure, the party seeking
fees must comply with the following requirements as a precondition to any
such award:
      (a)   Counsel must maintain a separate record of time with a
      complete and accurate accounting of all time devoted to this
      particular action (to the nearest 1/10 of an hour), recorded
      contemporaneously with the time expended, for each attorney and
      with sufficient detail to disclose the nature of the work performed
      in the action. For example, do not simply list “research,” list the
      specific matter being researched. Do not simply list “conference,”
      identify the persons conferring and the general subject matter of the
      conference.
      (b)   If a claim will be made for services performed by any person
      not a member of the bar, a separate time record shall be maintained
      for each such individual in accordance with (a) above.
      (c)   Counsel is directed to review and verify all attorney and non-
      attorney time records no less than once per month.
      (d)    Although the court does not require counsel to file a copy of
      the time records before a request for a fee, counsel may file with the
      Clerk of Court either a copy of the time record referred to in (a)
      above, or a separately prepared document setting forth the
      information described in (a) above. If counsel elects to file reports,
      they should be filed by the 15th day of the month following the
      month in which the work was performed during the pendency of the
      case. If counsel elects to file time reports, the material filed may be
      filed under seal, subject to further court order, by placing the same
      in a sealed envelope with the case name and number along with
      “ATTORNEY TIME RECORDS - FILE UNDER SEAL” written
      thereon. However, if the material is filed under seal, then the filing
      party must, at the time of such filing, also file (and serve a copy on
      opposing parties or their counsel) a document stating the total of
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       the hours represented by the sealed filing, allocated as to total
       attorney hours and total non-attorney hours included in the current
       filing under seal. Upon the conclusion of this case, without further
       order, the seal will be lifted as to all attorney fee materials filed
       under seal.
       (e)   A Petition for Attorney Fees shall be accompanied by
       Counsel’s Certification that all time records are accurate; that such
       records were prepared contemporaneously with the performance of
       the work for which the fees are claimed; and that counsel reviewed
       and verified all attorney and non-attorney time records no less
       frequently than once per month.
III.   CASES THAT REQUIRE EEOC CHARGES
      If this case is one in which the filing of a charge of discrimination
with the Equal Employment Opportunity Commission (“EEOC”) or
similar agency is required as a prerequisite to suit, then the plaintiff(s)
must file the following with the Clerk of Court at the time of filing the
disclosures required by Rule 26(a)(1): (a) a copy of all charges of
discrimination filed with the EEOC and which form the bases of the
action; and (b) a copy of the EEOC’s response to all such charges of
discrimination filed with that agency, including the notice of right to sue.
IV.    MOTION PRACTICE
       A.    Dispositive Motions
     Any motion(s) for summary judgment filed in this action must
comply with all requirements of Appendix II to this order.
       B.    Other Motions
      All other motions shall be electronically filed via CM/ECF and shall
not exceed 15 pages, double spaced.
      Before filing a motion (other than a motion to remand or motion for
summary judgment), moving counsel shall contact the opposing counsel
and determine if counsel opposes the motion. All motions shall include,
in the caption under the case number, a notation that the motion is either
“Opposed” or “Unopposed.” The first paragraph shall briefly summarize
the parties’ attempts to resolve the issue(s) and set forth areas of

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agreement and disagreement. Failure of the parties to abide by these
requirements can result in a sua sponte denial of the motions for failure
to comply.
      C.    Discovery Disputes
      Parties must seek leave of the court before filing a motion about a
discovery dispute. If the motion for leave is opposed, opposing counsel
may file a response within three (3) days. The motion for leave of the court
must specify the nature of the discovery dispute and the steps the parties
have taken to resolve that dispute. The motion need only include the facts
relevant to the dispute. Legal argument and/or legal citations are not
necessary. Failure of the parties to abide by these requirements can result
in a sua sponte denial of the motions for failure to comply.
      D.    Motion of Counsel to Withdraw
      Once an attorney has appeared as counsel for a party, he or she may
not withdraw from the action merely by filing a “notice of withdrawal.”
Instead, the attorney must file a motion stating the specific grounds for
withdrawal and seeking permission of the court to do so. Any motion to
withdraw which, if granted, would leave a party unrepresented by counsel
must include a certification that the moving attorney has served a copy of
the motion on his or her client and has informed the client of the right to
promptly file an objection with the court. The motion must also include
the notation, “Future notice to (name of party) is to be made at the
following address: (state last known address of the party).”
      E.    Type Size and Font
     The Court requires that all documents submitted to the Court be in
Times New Roman, 14-point type, except that footnotes may be in Times
New Roman, 12-point type. All documents must use 1” margins.
      DONE and ORDERED on June 21, 2023.



                                  _________________________________
                                  COREY L. MAZE
                                  UNITED STATES DISTRICT JUDGE



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                              APPENDIX I

                  UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

AAA,
       Plaintiff(s),

v.                                               Case No. ______

BBB,
       Defendant(s).

              QUALIFIED HIPAA PROTECTIVE ORDER
      The court GRANTS the parties the right, upon compliance with the
applicable discovery provisions of the Federal Rules of Civil Procedure
and the orders of this court, to obtain from any health care provider,
health plan, or other entity covered by the Health Insurance Portability
and Accountability Act of 1996, Pub. L. No. 104-191, 110 Stat. 1936 (1996)
(“HIPAA”), any and all information relating to the past, present, or future
medical condition of any individual who is a party to this action (or the
decedent or ward of a party who sues in a representative capacity), as well
as any and all information relating to the provision of health care to such
individual and payment for the provision of such health care.
      This order authorizes any third-party who is provided with a
subpoena requesting the production of documents or commanding
attendance at deposition or trial to disclose the Protected Health
Information in response to such request or subpoena. This order is
intended to authorize such disclosures under the privacy regulations
issued pursuant to HIPAA. 45 C.F.R. § 164.512(e)(1)(i).
      The court expressly prohibits the parties from using or disclosing
the protected health information obtained pursuant to this order for any
purpose other than this action. Further, the court orders the parties either
to return to the covered entity from whom or which such protected health
information was obtained, or to destroy the protected health information



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(including all copies made), immediately upon conclusion of this action.
See 45 C.F.R. §§ 163.502(b); 164.512(e)(1)(v).
DONE and ORDERED on XX DAY



                                 _________________________________
                                 COREY L. MAZE
                                 UNITED STATES DISTRICT JUDGE




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                       APPENDIX II
             SUMMARY JUDGMENT REQUIREMENTS

                                 NOTICE
This appendix contains specific, mandatory instructions regarding the
preparation and submission of briefs and evidentiary materials in support
of and in opposition to potentially dispositive motions. These instructions
must be followed explicitly. Except for good cause shown, briefs and
evidentiary materials that do not conform to the following requirements
may be stricken.


                           INTRODUCTION
      This appendix sets forth the Court’s instructions for submitting and
responding to motions for summary judgment.           For the ease of the
Parties, the Court summarizes its instructions in the chart on the
following page.
       As you will see, the court staggers the deadlines for filing motions,
supporting briefs, evidentiary materials, and courtesy copies to the court.
The point of staggering the deadlines in this manner is to allow the parties
sufficient time to cite CM/ECF document and page numbers in the
briefs—particularly citations to evidentiary materials. Proper, uniform
citation to the CM/ECF record assists both the court and the parties and
is thus expected in all briefing.




                          SUMMARY CHART

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      Unless otherwise ordered by the Court, the following chart
summarizes the parties’ filing responsibilities. “Day 0” is the day the
dispositive motion is filed.
PARTY           WHEN      MATERIALS DUE            WHERE FILED AND/OR DELIVERED
Movant          Day 0     Motion     for   Summary CM/ECF (electronic filing)
                          Judgment,
                          Evidentiary Materials
                Day 1     Brief in Support         CM/ECF (electronic filing)
                                                   Chambers (email Word document)
                Day 3     Three-ring binder        Chambers (Anniston Federal
                (noon)    containing:              Courthouse)
                              a) Motion
                              b) Brief in Support
                              c) Evidentiary
                                 Materials
Respondent      Day 21    Evidentiary Materials (if CM/ECF (electronic filing)
                          any)
                Day 22    Response in Opposition    CM/ECF (electronic filing)
                                                    Chambers (email Word document)
                Day 24    Three-ring binder         Chambers (Anniston Federal
                (noon)    containing:               Courthouse)
                              a) Response in
                                 Opposition
                              b) Evidentiary
                                 Materials (if any)
Movant          Day 35    Evidentiary Materials (if CM/ECF (electronic filing)
                          any)
                Day 36    Reply Brief               CM/ECF (electronic filing)
                                                    Chambers (email Word document)
                Day 38    Three-ring binder         Chambers (Anniston Federal
                (noon)    containing:               Courthouse)
                              a) Reply Brief
                              b) Evidentiary
                                 Materials (if any)
Page Limits: Brief in Support of Motion (35), Brief in Opposition (35), Reply Brief (15)
Font/Spacing: Double Spaced, Times New Roman, 14-point type in body, 12-point footnotes,
1-inch margins

    **Motions to alter these rules must be filed at least 48 hours before the deadline**



         A.   REQUIREMENTS FOR MOTIONS AND BRIEFS
         All motions and briefs shall use 14-point, Times New Roman font in

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the body and 12-point, Times New Roman font in footnotes. The text of
briefs must be double-spaced, except for quotations exceeding 50 words,
which may be block indented from the left and right margins and single
spaced. All briefs must use 1-inch margins.
     The brief supporting a motion for summary judgment cannot exceed
35 pages. The brief in opposition to a motion for summary judgment
cannot exceed 35 pages. Reply briefs cannot exceed 15 pages.
      All briefs must include a table of contents that accurately reflects
the organization of the document. The table of contents is not included in
the page limit.
      The court will not consider arguments incorporated by reference to
earlier filings and will not consider substantive arguments made in
footnotes. The court may strike any brief that would exceed the page
limits because of attempts to incorporate by reference or include
substantive arguments in footnotes.
      B.    CALCULATING SUBMISSION DATES
      The day that the motion(s) for summary judgment are filed is
considered “Day 0,” and all deadlines that follow flow from that day. The
Court will provide the parties with the deadline to file dispositive motions.
That date will not be extended absent good cause. If the moving party
wishes to file its motion before that date, it must file the motion on either
a Monday or Tuesday to avoid weekend deadlines.
      C.    SUMISSIONS
            1.    Motion for Summary Judgment
      The party filing a dispositive motion has four responsibilities that
begin on the filing deadline for dispositive motions—i.e. “Day 0”:
   • Day 0: File the Motion for Summary Judgment via CM/ECF;
   • Day 0: File evidentiary materials via CM/ECF
   • Day 1: File a brief in support of summary judgment via CM/ECF
     and email a copy to the court’s chambers account; and,
   • Day 3 (by noon): Submit a binder containing the Motion for
     Summary Judgment, brief in support, and evidentiary materials to

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      the court’s chambers at the Anniston Federal Courthouse.
The Court provides additional details on these submissions below:
                   (a)   Motion for Summary Judgment
      The Court expects the dispositive motion to be concise, to clearly
state which claims are due to be summarily dismissed, and to clearly state
the relief sought. Argument shall be reserved for the subsequent brief in
support.
      The motion shall be electronically filed via CM/ECF on the
previously ordered deadline for dispositive motions.
                   (b)   Evidentiary Materials
      On the same day that it files the motion for summary judgment, the
moving party shall also electronically file via CM/ECF one set of all
evidentiary materials (e.g., affidavits, exhibits, depositions, or other
products of discovery) that the party relies upon to support the motion.
      Each volume of evidentiary materials must include a table of
contents that includes a brief narrative description of each document
included; for example, “Plaintiff’s Exhibit 1, the Deposition of John Jones.”
For ease of citation, each affidavit, exhibit, deposition, or other product of
discovery must be separately identified by a capital letter or numeral (i.e.,
“Exhibit A” or “Exhibit 1”); and, if the exhibit contains more than one
page, each page must be separately numbered. Counsel are directed to
submit entire depositions, even if relying only on excerpts, including all
exhibits to the depositions. Deposition travel transcripts that are
submitted as part of the evidentiary record should include no more than
four pages of deposition text per 8.5” by 11” page.
                   (c)   Brief in Support
       The moving party shall electronically file via CM/ECF a brief
supporting its Motion for Summary Judgment the day after filing the
motion. On the same day, the moving party shall also email a copy of the
brief,   in    Microsoft   Word     format,     to   the    court     at
maze_chambers@alnd.uscourts.gov.      The moving party shall copy
opposing counsel on this email.



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      The brief in support shall contain, in this order, a table of contents,
a statement of undisputed facts, and arguments supporting the motion,
including citations to relevant legal authorities.
       The moving party’s statement of facts shall list in separately
numbered paragraphs each material fact the moving party contends is
true and not in genuine dispute, and upon which the moving party relies
to demonstrate that it is entitled to summary judgment. Counsel must
state these facts in clear, unambiguous, simple, declarative sentences.
       Each statement of fact must be followed by a specific reference to
those portions of the evidentiary record that the movant claims supports
it. All citations to the evidentiary record, in all sections of the brief, shall
include the CM/ECF document number, page number, and line number
(if any). While the court reserves the right to consider evidentiary
materials that are not specifically referenced in the brief, no party has a
right to assume the court will consider such materials.
                   (d)    Binder of Materials (courtesy copy to court)
      By noon on the third day after filing its Motion for Summary
Judgment, the moving party shall deliver to the court’s chambers a 3-ring
binder(s) that contains the following, in this order: (a) motion for summary
judgment, (b) brief in support, and (c) evidentiary materials. The binder(s)
may be mailed or hand delivered to the court’s chambers at the United
States District Court, Anniston Federal Courthouse, 1100 Gurnee
Avenue, Anniston, Alabama 36201. Each document shall contain the
CM/ECF stamp reflecting the document number, page number, and filing
date of that document.
      The moving party shall include a tab that identifies each of these
documents. Additionally, the evidentiary material should include a tab
corresponding to each document, with the specific identifier for that tab.
      Regarding the hard copies of depositions, parties shall include the
entire deposition, in travel transcript format consisting of no more than
four pages of deposition text per 8 ½ by 11 inch page, as well as all exhibits
to the depositions with sub-tabs, clearly labeled.
             2.    Response in Opposition
      A party opposing summary judgment has three responsibility that
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begin 21 days after the filing of the motion:
   • Day 21: File evidentiary materials via CM/ECF;
   • Day 22: File a brief in opposition to the motion via CM/ECF and
     email a copy to the court’s chambers account; and,
   • Day 24 (by noon): Submit a binder containing the brief in opposition
     and evidentiary materials to the court’s chambers at the Anniston
     Federal Courthouse.
The Court provides additional details on these submissions below:
                  (a)    Evidentiary Materials
      Parties should refrain from re-submitting additional copies of
previously-submitted materials. Instead, the party opposing the motion
should reference materials included in the moving party’s initial
evidentiary submission without resubmitting those materials.
      If the opposing party must reference evidentiary materials that
were not submitted by the moving party, the opposing party shall
electronically file via CM/ECF one set of such evidentiary materials (e.g.,
affidavits, exhibits, depositions, or other products of discovery) 21 days
after the moving party files its motion for summary judgment and
evidentiary materials.
      Each volume of evidentiary materials must include a table of
contents that includes a brief narrative description of each document
included; for example, “Defendant’s Exhibit 1, the Deposition of Jane
Jones.” For ease of citation, each affidavit, exhibit, deposition, or other
product of discovery must be separately identified by a capital letter or
numeral (i.e., “Exhibit A” or “Exhibit 1”); and, if the exhibit contains more
than one page, each page must be separately numbered. Counsel are
directed to submit entire depositions, even if relying only on excerpts,
including all exhibits to the depositions. Deposition travel transcripts that
are submitted as part of the evidentiary record should include no more
than four pages of deposition text per 8.5” by 11” page.
                  (b)    Brief in Opposition
      The opposing party shall electronically file via CM/ECF its brief
opposing the Motion for Summary Judgment 21 days after the moving

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party files its brief in support of the motion (i.e. “Day 22”). On the same
day, the opposing party shall also email a copy of the brief, in Microsoft
Word format, to the court at maze_chambers@alnd.uscourts.gov. The
opposing party shall copy opposing counsel on this email.
       The brief in support shall contain, in this order, a table of Contents,
a statement of facts, and arguments opposing the motion, including
citations to relevant legal authorities. The statement of facts may include
up to three sections, in the following order:
      • Response to Moving Party’s Statement of Facts (if any)
       The first section must consist of only the non-moving party’s
disputes, if any, with the moving party’s claimed undisputed facts. The
non-moving party’s response to the moving party’s claimed undisputed
facts shall be in separately numbered paragraphs that coincide with those
of the moving party’s claimed undisputed facts. Any statements of fact
that are disputed by the non-moving party must be followed by a specific
reference to those portions of the evidentiary record upon which the
dispute is based. All material facts set forth in the statement required of
the moving party will be deemed to be admitted for summary judgment
purposes unless controverted by the response of the party opposing
summary judgment.
      • Additional Undisputed Facts (if any)
       The second section may contain additional, allegedly undisputed
facts set out in separately numbered paragraphs that the opposing party
contends require the denial of summary judgment. The second section of
the opposing party’s statement of facts, if any, shall be clearly designated
as such. Each statement of fact in this section shall be supported by its
own evidentiary citation. The opposing party should include only facts
that the opposing party contends are true and not in genuine dispute.
      • Additional Disputed Facts (if any)
      The third section may contain additional, allegedly disputed facts
set out in separately numbered paragraphs that the opposing party
contends require the denial of summary judgment. The third section of
the opposing party’s statement of facts, if any, shall be clearly designated
as such. Each statement of allegedly disputed facts must be followed by

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specific reference to those portions of the evidentiary record which both
support and contradict the alleged fact.
      Each statement of fact must be followed by a specific reference to
those portions of the evidentiary record that the opposing party claims
supports it. All citations to the evidentiary record, in all sections of the
party’s brief, shall include the CM/ECF document number, page number,
and line number (if any).
                   (c)   Binder of Materials (courtesy copy)
      By noon on the third day after filing its evidentiary materials (i.e.
“Day 24”), the opposing party shall deliver to the a 3-ring binder(s) that
contains the following, in this order: (a) brief in opposition and (b)
evidentiary materials. The binder(s) may be mailed or hand delivered to
the court’s chambers at the United States District Court, Anniston
Federal Courthouse, 1100 Gurnee Avenue, Anniston, Alabama 36201.
Each document shall contain the CM/ECF stamp reflecting the document
number, page number, and filing date of that document.
      The opposing party shall include a tab that identifies each of these
documents. Additionally, the evidentiary material should include a tab
corresponding to each document, with the specific identifier for that tab.
      Regarding the hard copies of depositions, parties shall include the
entire deposition, in travel transcript format consisting of no more than
four pages of deposition text per 8 ½ by 11 inch page, as well as all exhibits
to the depositions with sub-tabs, clearly labeled.
            3.     Reply Brief
      The moving party may (but is not required to) file a reply brief and
additional evidentiary materials. If it does, it must also submit a binder
containing these items.
                   (a)   Additional Evidentiary Materials
       Additional evidentiary materials may be electronically filed via
CM/ECF 14 days after the opposing party files its evidentiary materials
(i.e. “Day 35”). Only those previously-unfiled evidentiary materials
necessary to rebut factual statements made by the opposing party should
be filed—i.e. no evidence should be filed twice.


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                   (b)   Reply Brief
       The moving party may file a reply brief 14 days after the opposing
party files its brief in opposition (i.e. “Day 36”). The reply brief must
include the moving party’s disputes, if any, with the non-moving party’s
additional claimed undisputed facts. The moving party’s response to the
non-moving party’s additional claimed undisputed facts shall be in
separately numbered paragraphs that coincide with those of the non-
moving party’s additional claimed undisputed facts. Any statements of
fact that are disputed by the moving party must be followed by a specific
reference to those portions of the evidentiary record upon which the
disputation is based. All additional material facts set forth in the
statement required of the opposing parties will be deemed to be admitted
for summary judgment purposes unless controverted by the statement of
the movant.
                   (c)   Binder of Materials (courtesy copy)
      By noon on the third day after filing its additional evidentiary
materials (i.e. “Day 38”), the moving party shall deliver a 3-ring binder(s)
that contains the following, in this order: (a) reply brief and (b) evidentiary
materials. The same rules that governed the party’s binder containing
the motion for summary judgment and supporting materials govern this
binder of reply materials.
                                     ***
      These rules and deadlines are designed to assist the parties and the
court, and thus the Court is disinclined to deviate from them. If a party
believes it is unable to meet a deadline, that party shall file a motion for
extension at least 48 hours before the deadline that shows good cause
why the court should adjust the schedule.
                              APPENDIX III
(This document should be submitted in the formatting used below. The
parties need not file this document with 1-inch margins, 12-point Times
   New Roman font, etc., as the court requires for other documents)

                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

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AAA,
       Plaintiff(s),

v.                                                Case No. ______

BBB,
       Defendant(s).

         REPORT OF THE PARTIES’ PLANNING MEETING
1.    Synopsis of the Case: <Provide a brief synopsis of the case that
advises the court of the general claims and defenses of the parties>
2.   The following persons participated in a Federal Rule of Civil
Procedure 26(f) conference on <date> by <state the method of conferring>:
       <Name>, representing the <plaintiff(s)>
       <Name>, representing the <defendant(s)>
3.   Initial Disclosures. The parties [having completed] [will complete
by<date>] the initial disclosures required by Rule 26(a)(1).
4.     Discovery Plan: The parties propose this discovery plan:
      <Use separate paragraphs or subparagraphs if the parties
disagree.>
       (a)    Discovery will be needed on these subjects: <Describe>
      (b)    <Dates for commencing and completing discovery, including
dates to be commenced or completed before other discovery>
       (c)    <Dates for supplementation under Rule 26(e)>
       (d)    <Dates for exchanging reports of expert witnesses>
       (e)    <Maximum number of interrogatories by each party to
              another party, along with the dates the answers are due>
       (f)    <Maximum number of requests for admission, along with the
              dates responses are due>
       (g)    <Maximum number of requests for production, along with the
              dates responses are due>
       (h)    <Maximum number of depositions by each party>
       (i)    <Limits on the length of depositions, in hours>
5.     Other items:

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     (a)   <A date if the parties ask to meet with the court before a
           scheduling order>
     (b)   <Final dates for the plaintifff to amend pleadings or to join
           parties>
     (c)   <Final dates for the defendant to amend pleadings or to join
           parties>
     (d)   <Final dates to file dispositive motions>
     (e)   <State the prospects for settlement>
     (f)   <Identify any alternative dispute resolution procedure that
           may enhance settlement prospects>
     (g)   <Final dates for submitting Rule 26(a)(3) witness lists,
           designations of witnesses whose testimony will be presented
           by deposition, and exhibit lists>
     (h)   <Final dates to file objections under Rule 26(a)(3)>
     (i)   <Requested dates for pretrial conferences>
     (j)   <Suggested trial date and estimated length of trial>
     (k)   <Other matters>
Date: <Date>                       <Signature of the attorney or
                                   unrepresented party>
                                   _________________________________
                                   <Printed Name>
                                   <Address>
                                   <Email Address>
                                   <Telephone Number>

Date: <Date>                       <Signature of the attorney or
                                   unrepresented party>
                                   _________________________________
                                   <Printed Name>
                                   <Address>
                                   <Email Address>
                                   <Telephone Number>




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   (This document should be submitted in the formatting used below)

                         Plaintiff v. Defendant
                      Case No. x:xx-cv-xxxxx-CLM
 A. Deadlines
Parties’ Report                                   Court’s Suggestion

                           Initial Disclosures


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P:                      Deadline to Join Parties or   P:
D:                          Amend Pleadings           D:
                               Rule 26(e)
                           Supplementations
P:                           Expert Reports           P:
D:                                                    D:
                         Fact & Expert Discovery
                                Complete
n/a                         Status Conference
                               (telephone)
                           Dispositive motions
                                                      *Follow Appx II*
                         Witness and Exhibit Lists

                                Motions in
                            Limine/Objections         *Follow Appx IV*
                               Responses to
                              MIL/Objections
                            Pretrial Conference

(x-x days)                   Trial Date (Jury)        (x-x days)

 B. Discovery Limits
Parties’ Suggestion                                   Court’s Suggestion

each, due within 30           Interrogatories         each, due within 30 days
days of service                                       of service
each, due within 30      Requests for Admissions      each, due within 30 days
days of service                                       of service
each, due within 30      Requests for Production      each, due within 30 days
days of service                                       of service
each, 7 hours each             Depositions            each, 7 hours each

                              APPENDIX IV
                MOTION IN LIMINE REQUIREMENTS
       The court will provide the parties with a deadline to file their
 witness and exhibit lists and motions in limine. All motions in limine must
 be consolidated in a single motion. The court will strike motions in
 limine that are not consolidated in a single motion.
       The opposing party shall file its brief opposing the motion in limine
 7 days after the moving party files its motion in limine. The moving party

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may (but is not required to) file a reply brief in support of its motion in
limine. The deadline to file a reply brief shall be 2 business days after the
opposing party files its response brief.
      All motions and briefs shall use 14-point, Times New Roman font in
the body and 12-point Times New Roman font in footnotes. The text of
briefs must be double-spaced, except for quotations exceeding 50 words,
which may be block indented from the left and right margins and single
spaced.
      Motions in limine cannot exceed 20 pages. The brief in opposition to
a motion in limine cannot exceed 20 pages. Reply briefs cannot exceed 10
pages.




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